Case 1:24-cv-00002-TSK-MJA Document 5 Filed 01/04/24 Page 1 of 1 PageID #: 30



                  IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

STEPHEN J. BALISE, M.D.,

            Plaintiff,

       v.                                Civil Action No. 1:24-cv-2


BRITTANY JACKSON,

            Defendant.

                             ORDER OF REFERRAL
       Pursuant to Title 28, United States Code §§ 636(b)(1)(A) and

636(b)(1)(B) and L.R. Civ. P. 7.02(c) and 72.01, the Court REFERS

this   action,   to   the   Honorable   Michael   J.   Aloi,   United   States

Magistrate Judge, to conduct a scheduling conference and issue a

scheduling order, for written orders or reports and recommendations,

as the case may be, regarding any motions filed, and to dispose of

any other matters that may arise.

       It is so ORDERED.

       The Clerk is directed to transmit copies of this Order to all

counsel of record herein, to pro se Plaintiff, return receipt

requested, and to the Honorable Michael J. Aloi, United States

Magistrate Judge.


       DATED: January 4, 2024


                                  ____________________________
                                  THOMAS S. KLEEH, CHIEF JUDGE
                                  NORTHERN DISTRICT OF WEST VIRGINIA
